Case 2:03-cr-20336-.]PI\/| Document 94 Filed 07/22/05 Page 10

may/w

IN THE UNITED STATES DISTRICT cOURT
FOR THE wEsTERN DISTRICT OF TENUS$}§;EEPZ FH |_57
wEsTERN DIVISION '

Page|D 134

 

fmc us ds`mr
WBC Gf"i`.\ M£“z"},)[$$lnr

03 0203 50

Criminal NOOZ- % )Ml(é'

(30-Day Continuance)

UNI'I`ED S'I'A'I`ES OF AMERICA

Plaintiff,

)
)

)

)

)

)

v. )
)

)

MZ >
)

f ?M fé )
)

)

)

)

)

)

)

)

 

 

 

 

Defendant(s}.

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated. by the signatures below, the United. States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the August, 2005.
criminal rotation calendar, but is now RESET for report at §igg
a.m. on Fridav, August 26. 2005, with trial to take place on the
September, 2005 rotation calendar with the time excluded under the

Speedy Trial Act through September 16, 2005. Agreed in open court

at report date this 22nd day of July, 2005.

T‘nis document entered on the docket sheet in cumpli nce
With Ru|e 55 and/or 32(b) FF{CIP on 2 1255 125

 

Case 2:03-cr-20336-.]PI\/| Document 94 Filed 07/22/05 Page 2 of 3 Page|D 135

30 ORDERED this 22nd day of July, 2005.

P WQQQ

JON PHIPPS MCCALLA
UN ED S'I'ATES DISTRICT JUDGE

 

grew

Assistant United States Attorney

 

 

 

 

     

UNITED sETATS DISTRICT COURT - WERSTE DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 94 in
case 2:03-CR-20336 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Robert C. Irby

LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

Memphis7 TN 38111

Honorable J on McCalla
US DISTRICT COURT

